)\'lilURNl:\'_\‘ k (..`Ul L\`~.\`l"l.k)ll$ .»\T l..-\\\'

E Pi§"rERsONizAt\/\ATLLC

 

Case 3:18-cV-00945-WWE Document 1 Filed 06/06/18 Page 1 of 15

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT

CONNOR CAPASSO )
)
Plaintiff, ) CIVIL ACTION NO.
)
v. )
)
CITY OF NEW HAVEN, NEW HAVEN )
POLICE DEPARTMENT AND YALE NEW )
HAVEN HOSPITAL )
)
)
Defendants. ) JUNE 6, 2018
COMPLAINT

Plaintiff Connor Capasso (“Plaintiff” or “Mr. Capasso”) by and through his attorneys,
Peterson Zamat, LLC, brings this civil action against Defendants City of New Haven (“New
Haven”), New Haven Police Department (“New Haven Police”), and Yale New Haven Hospital
(“Yale New Haven Hospital” or the “Hospital”) (collectively, “Defendants”).

NATURE OF THE ACTION

l. This matter arises from an incident that occurred on or around November 6, 2017
while Plaintiff was a patient at Yale New Haven.

2. l\/lr. Capasso sustained injuries while being treated at the Saint Raphael Campus of
Yale New Haven Hospital as a result of excessive force used against him by approximately seven
to nine New Haven Police officers and Protective Services agents from the Hospital, all whom
were acting in their individual and/or official capacity in the performance of their duties, and within
the scope of their employment as law enforcement officers. Said officers and agents were acting
under the color of state law, that is, under color of the Constitution, statutes, laws, charter,

ordinances, rules, regulations, customs and usages of the United States and State of Connecticut.

l\`l l<.)l{z\il§\`$ c\ (_`Ul |.\ESFU)R.\` ..-\T L,~\\\"

E PETERSC)N.ZAMATLLC

 

Case 3:18-cV-00945-WWE Document 1 Filed 06/06/18 Page 2 of 15

3. Individuals employed by the Protective Service Department of Yale New Haven
Hospital, all whom were acting in their individual and/or official capacity in the performance of
their duties, and within the scope of their employment, simultaneously with New Haven Police,
used excessive force against Mr. Capasso, causing him to sustain injuries.

4. This is a civil action for violations of Plaintiff’s civil rights, secured and protected
by the Civil Rights Act of 1871, 42 U.S.C. §1983, and the Fourth, Eighth, and/or Fourteenth
Amendments of the United States Constitution, and Article One §§7, 8, 9, and/or 20 to the
Connecticut Constitution, as well as the common and statutory laws of the State of Connecticut,
against Defendants, for which he seeks damages, attorneys’ fees, and costs.

5. Statutory notice of Mr. Capasso’s civil rights claims against the Defendants and
intention to bring this action was sent via certified mail to the New Haven Clerk pursuant to §§7-
465 and 52-557n of the Connecticut General Statutes, on or around l\/Iarch 27, 2018, a copy of

which is attached hereto as Exhibit A.

PARTIES
6. Mr. Capasso is a resident of Woodbridge, Connecticut.
7. New Haven is a municipality created and existing as a political subdivision of the

State of Connecticut pursuant to the laws of the State of Connecticut and acting at all pertinent

times herein through its duly authorized agents, employees and/or representatives

8. Yale New Haven Hospital is a l,54l-bed hospital located in New Haven,
Connecticut.
9. New Haven Police is a law enforcement agency for New Haven.

:\'l IURNI:\`$ g\ Kl)l i.\`_‘il:l.t)l‘\_\` .»\T l.,»\\\'

E PETERSONiZ/\MATLLC

 

Case 3:18-cV-00945-WWE Document 1 Filed 06/06/18 Page 3 of 15

10. At all relevant times described herein, Defendants individually and/or in concert,
were acting with deliberate indifference and under the totality of the circumstances, objectively
unreasonably, with regard to the health, safety, wellbeing and/or rights of the Mr. Capasso.

1 1. At all relevant times described herein, under the totality of the circumstances, the
actions of all Defendants, individually and/or in concert, were objectively unreasonable and/or
were carried out with the conscious disregard for the health and safety of the Mr. Capasso.

12. At all relevant times described herein, Defendant New Haven Police and Yale New
Haven Hospital Protective Services acted jointly and in concert with each other and each such
individual had the duty and reasonable opportunity to intervene to protect Mr. Capasso from the
negligent, reckless, willful, knowing, unconstitutional and/or deliberately indifferent acts of the
other Defendants, as described herein, but each Defendant failed and/or refused to perform such
duty, despite such reasonable opportunity to do so, as it arose, thereby proximately causing the
injuries and losses complained of herein.

JURISDICTION
13. Jurisdiction and venue is predicated upon 42 U.S.C. § 1983 and 28 U.S.C. § 1331.
M
VIOLATIONS OF RIGHTS SECURED BY 42 U.S.C. § 1983 AND THE FOURTH,
EIGHTH AND/OR FOURTEENTH AMENDMENTS TO THE UNITED STATES
CONSTITUTION DUE TO USE OF UNREASONABLE AND EXCESSIVE FORCE
(Against New Haven Police)

14. Paragraphs 1-12 are incorporated herein by reference.

15. On or around November 6, 2017, Mr. Capasso was a patient at the Saint Raphael
Campus of Yale New Haven Hospital when, in response to his alleged erratic behavior, he was

accosted by approximately seven to nine police officers and Protective Service Agents from the

Hospital.

/\il 'lURi\.‘l:‘x`S `\ CUl l.\'.\`[~`l.Ul‘\\` ..'\T l.,'\\\"

E Pr~;Tl-:RSONiZAr\/\ATLLC

 

Case 3:18-cV-00945-WWE Document 1 Filed 06/06/18 Page 4 of 15

16. Mr. Capasso was unnecessarily forced to the ground, causing his head to be
smashed on the floor and ultimately, he was shot with pepper spray, causing severe injuries.

17. After he was forced to the ground, one of the New Haven Police officers or
Protective Service agent from the Hospital cut off Mr. Capasso’s airway with his knee and shot
him with pepper spray again.

18. Under the totality of the circumstances, Defendant New Haven Police officers,
while acting under the color of state law, acted with deliberate indifference and/or objective
unreasonableness when they used excessive force on Plaintiff.

19. As a direct result of the Defendants’ actions, Mr. Capasso suffered physical injuries
to his face, nose, tongue, mouth and head and damages including medical expenses, in violation
of his rights as guaranteed under the Fourth and/or Fourteenth Amendments to the United States
Constitution.

20. The conduct and actions of the New Haven Police and the Yale New Haven
Hospital Protective Services, as aforesaid, acting under color of law, was excessive and constituted
unreasonable use of force, in violation of Mr. Capasso’s Fourth and/or Fourteenth Amendment
rights as secured by 42 U.S.C. § 1983.

COUNT TWO
VIOLATIONS OF RIGHTS SECURED BY ARTICLE I §§ 7 AND 9 OF THE
CONNECTICUT CONSTITUTION
(Against New Haven Police)
21. Paragraphs 1-12 are incorporated herein by reference.
22. The conduct and actions of Defendant New Haven Police, as aforesaid, violated

Plaintiff’s State Constitutional rights as they constituted unreasonable use of force, in direct

violation of Plaintist rights under Article l §§ 7 and 9 of the Connecticut Constitution.

.~\il 'lUllNl:\'S ;\ CUl l,\`.\`l;lk)l‘\\` ,.-\I l...~\\\'i

g PETERSONiZAr\/\ATLLC

 

Case 3:18-cV-00945-WWE Document 1 Filed 06/06/18 Page 5 of 15

23. As a direct result and proximate cause of Defendant New Haven Polices’ actions,
as aforesaid, Mr. Capasso suffered the aforementioned injuries and related medical expenses.

COUNT THREE
NEGLIGENCE UNDER THE COMMON LAW OF CONNECTICUT
(Against New Haven and New Haven Police)

24. Paragraphs 1-12 are incorporated herein by reference.
25. The officers of Defendant New Haven Police, acting individually and/or in concert
with each other as aforesaid, exhibited a lack of reasonable care in so acting in one or more of the

following ways:

a) Their conduct was unreasonable and breached the applicable duty and standard of
care that Defendants owed to Plaintiff by failing to take all available measures
reasonably necessary to protect his safety, particularly since he was a patient at
Yale New Haven and had the right to “safety and security in an environment that
offers dignity, including freedom from neglect or mistreatment” as set forth by Yale
New Haven Hospital;

b) Their conduct in instituting use of force, including the use of pepper spray twice
against Plaintiff, with no justification or probable cause to do so, exhibited lack of
due care in regard to the health, safety and well-being of the Plaintiff;

c) Defendants applied unreasonable force by unnecessarily forcing Plaintiff to the
ground, causing Plaintiff to smash his head on the ground;

d) After Plaintiff was forced to the ground, Defendants continued to apply
unreasonable force when one New Haven Police officer or Hospital Protective
Services agent placed his/her knee on Plaintiff’ s throat and cutting off his air all
while Plaintiff was pepper sprayed twice by other New Haven Police officers and/or
Hospital Protective Services Agents;

e) Defendants acted with lack of due care and/or extreme disregard for the safety and
well-being of the Plaintiff when New Haven Police officers and/or Hospital
Protective Services agents acted to force the Plaintiff to the ground causing him to
injure his head and after he was unnecessarily controlled, caused further injury by
cutting off his airway with physical force while pepper spraying Plaintiff twice;

f) Some or all of New Haven Police officers and/or Hospital Protective Services
agents at the scene failed to intervene or prevent and/or stop others from using
unreasonable force on the Plaintiff, and/or unlawfully seizing him, as aforesaid,
although they were in a reasonable position to do so for an extended period of time,

li PETERSON 1 ZAMATLLC
.‘\'1 lUR\\l\ \` c\ L`Ul |\‘\`l‘lt)l‘\\l ‘\T l -\\’\=`

 

Case 3:18-cV-00945-WWE Document 1 Filed 06/06/18 Page 6 of 15

g)

26.

but instead, joined in as seven to nine New Haven Police officers and Hospital
Protective Services agents were using unreasonable force during the incident
involving Plaintiff;

Defendants knew or reasonably should have known or foreseen that their

unreasonable and dangerous conduct, as aforesaid, would cause serious injury to
Plaintiff.

As a direct and proximate result of New Haven Police officers’ negligent actions,

Plaintiff suffered physical, emotional, and economic injuries.

COUNT FOUR

NEGLIGENCE UNDER THE COMMON LAW OF CONNECTICUT

27.

28.

(Againsl Yale New Haven Hospital)
Paragraphs 1-12 are incorporated herein by reference.

Yale New Haven exhibited a lack of reasonable care in so acting in one or more

ofthe following ways:

a)

lf>)

29.

Yale New Haven Hospital breached the applicable duty and standard of care set
forth in its “Patient Rights and Responsibilities” statement, which details a
patient’s rights during the time an individual is a patient at Yale New Haven.
Specifically, Plaintiff had a right to a safe, secure environment that offers dignity,
including freedom from neglect or mistreatment;

Yale New Haven Hospital breached said duty because Plaintiff became a patient
at Yale New Haven to receive care, not become a victim of police brutality. Yale
New Haven failed to protect Plaintiff’s rights mentioned above in Paragraph 26(a)
and abide by its very own standards.

As a direct and proximate result of Yale New Havens Hospital’s negligent actions,

Plaintiff suffered severe injuries.

§ PETERSON » ZAMATM
r\`l ilURi\li\`§ c\ (`Ul i\l\'l l§)[‘\\` \1 l-\\\'

 

Case 3:18-cV-00945-WWE Document 1 Filed 06/06/18 Page 7 of 15

COUNT FIVE
RECKLESS AND/OR WILLFUL CONDUCT UNDER THE COMMON LAW OF
CONNECTICUT
(Againsl New Haven Police)
30. Paragraphs 1-12 are incorporated herein by reference.
31. Some or all of the New Haven Police Defendants acted maliciously, recklessly,
willfully, with deliberate indifference and/or with conscious disregard for the life, health and well-

being of Plaintiff, in derogation of their duties, as follows:

a) Officers from the New Haven Police unnecessarily forced Plaintiff to the ground
and/or smashed his head on the ground, and those Defendants, both those
assigned to Yale New Haven and those dispatched to that location, in a pack of up
to nine individuals, continued to inflict harm and unnecessary punishment upon
Plaintiff who had committed no crime and posed no threat to anyone;

b) As many as nine New Haven Police officers used excessive force on Plaintiff,

despite the fact that the individuals had the knowledge that they were at Yale New
Haven’s psychiatric ward where Plaintiff was being treated for his condition;

c) Officers from the New Haven Police failed to intervene to prevent or stop others
from reckless and/or willfully violating Plaintiff’ s Constitutional rights, as
aforesaid, although they were in a reasonable position to do so.

32. As a direct result of such reckless, deliberate and/or willful misconduct, as
aforesaid, Plaintiff suffered physical, emotional and economic injuries, as set forth more
particularly herein.

C_OULSIX
ASSAULT AND BATTERY UNDER THE COMMON LAW OF CONNECTICUT
(Against New Haven Police)

33. Paragraphs 1-12 are incorporated herein by reference.

34. Some or all ofthe New Haven Police officers involved in the incident with Plaintiff,
separately or in concert, engaged in the following reckless, deliberate, unpermitted, offensive and

or/intentional conduct which initially placed Plaintiff in reasonable apprehension of imminent and

serious bodily harm, and caused him to suffer from such bodily harm, to wit:

7

1\'1‘10!'\1\'1‘\'.\` L\ Cui i.\=sHoRs i-\'r L.'\\\'

§ PETERSOI\IiZ/\MATLLC

 

Case 3:18-cV-00945-WWE Document 1 Filed 06/06/18 Page 8 of 15

a) New Haven Police officers used serious and injurious physical force on Plaintiff
while he was helpless, vulnerable, non-combative and/or nonthreatening and
merely seeking treatment while a patient at Yale New Haven;

b) New Haven Police officers forced Plaintiffto the ground, causing him to smash his
head on the ground, and proceeded to pepper spray him twice while one New Haven
Police officer applied significant pressure to Plaintiff’ s neck resulting in Plaintiff
not being able to breathe, despite the fact that he was a patient at a psychiatric ward
at Yale New Haven, and posed no threat to anyone at the time New Haven Police
attacked him;

c) New Haven Police officers deliberately and/or recklessly forced Plaintiff to the
ground causing Plaintiff’s head to smash on the ground, and then one of the New
Haven Police officers used his/her knee to cut off Plaintiff’ s airway while other
New Haven Police officers pepper sprayed Plaintifftwice.

35. As a direct result of New Haven Police officers’ conduct, which constituted assault

and battery on him, Plaintiff suffered physical injuries.

COUNT SEVEN
LIABILITY OF NEW HAVEN;
CONN. GEN. STAT. § 52-557n(a)
(Against New Haven)
36. Paragraphs 1-12 are incorporated herein by reference.
37. The negligent acts and omissions of some or all of New Haven Police officers

occurred while said officers were on duty, in uniform, and/or performing acts within the scope of
and in the course of their employment as police officers for New Haven.

38. The negligent conduct of New Haven Police officers as described aforesaid,
occurred while said officers were acting as agents and/or employees of New Haven, with a purpose
to further the interests of New Haven, as duly authorized

39. Such negligent conduct of New Haven Police officers subjected Plaintiff to
foreseeable imminent harm which in fact, did occur.

40. As a result, New Haven is liable to the Plaintiff under Conn. Gen. Stat § 52-557n(a)

for the negligent acts of New Haven Police officers, as agents, employees and/or representatives

8

§ PETERSON 1 ZAMATLLC
/\I‘lul‘\i\l'\'~; L\ c'uu\‘si~`l<)u\' -\T 1 \\\“

 

Case 3:18-cV-00945-WWE Document 1 Filed 06/06/18 Page 9 of 15

that were committed in the course of their employment and the scope of their duties and directly
and proximately caused PlaintifPs injuries.

COUNT EIGHT
IMDEMNIFICATION OF NEW HAVEN;
CONN. GEN. STAT. § 7-465

(Against New Haven)
4l. Paragraphs 1-12 are incorporated herein by reference.
42. New Haven is legally liable to pay on behalf of the New Haven Police all sums

which New Have Police becomes obligated to pay by way of above-mentioned causes of action
imposed upon such employees by law for damages awarded for the violation of Plaintiff’ s common
law rights, civil rights and physical damages to Plaintiff.

PRAYER FOR RELIEF
WHEREFORE, Mr. Capasso claims:

1. Monetary damages, including compensatory, actual and/or punitive damages
where applicable;

2. Actual, and/or punitive damages, pursuant to 42 U.S.C. § 1983;

3. Attorneys’ fees and costs pursuant to 42 U.S.C. § 1988; and

4. Such other and further relief as the Court may deem necessary, just and proper.
JURY CLAIM

Plaintiff demands a trial byjury.

r\'l'lUl{i\'li\`.\' `\ CUl l.\£_\i[~`l¢t)ll\i ,-\`1` l_,"\\’\-`

E PETERSONiZ/»\r\/\,¢\TLLC

 

Case 3:18-cV-00945-WWE Document 1 Filed 06/06/18 Page 10 of 15

Dated: Fairfield, Connecticut
June 6, 2018

10

PLAINTlFF, CONNOR CAPASSO

By: /s/Ml'chael A. Zamat
Michael A. Zamat
PETERSON ZAMAT, LLC
1275 Post Road, Suite 200-D
Fairfield, CT 06824
Telephone: 203.292.9798
Facsimile: 203.774.1155
Michael@r)etersonzamat.com

 

Atlorneys for Plaintijjf, Connor
Capasso

Case 3:18-cV-00945-WWE Document 1 Filed 06/06/18 Page 11 of 15

EXHIBIT A

/\'l'l`()l{Nli\’S & CUUN.\'ELUR.\' )\`|' l./\\-\'

g PETERSON¢ZAMAT“°

 

Case 3:18-cV-00945-WWE Document 1 Filed 06/06/18 Page 12 of 15

Marcir 26, 2018
cERTIFIED MAIL _ RETURN RECEIPT REQUESTED

.’_")1 il
NOTICE OF INTENT TO COMMENCE LAWSUIT

To: Michael B. Smart
New Haven City Clerk`
200 Orange Street
Room 202
New Haven, CT 06510

TAKE NOTICE pursuant to Connecticut General Statutes §§7-465 and 52-557n and all ~
other pertinent statutory provisions, Mr. Connor Capasso intends to bring an action pursuant to
these statutes due to damage to his person and deprivations of his civil rights under the
Constitution and laws of the United States and the State of Connecticut sustained as a result of
the use of excessive force and other unlawful police action.

At this time and place, New Haven police officers used excessive force against him,

causing multiple injuries. These actions violated the Constitutions and laws of the United States
and the State of Connecticut.

DATE OF INCIDENT: NOVE‘MBER 6, 2017

 

 

 

TIME OF INCIDENT: 'BETWEEN 5:00 &; 6:30 P.M.
PLACE OF INCIDENT: ~ YALE NEW HAVEN HOSPITAL
SAINT RAPHAEL CAMPUS
1450 CHAPEL STREET
NEW HAVEN, C'l` 06511
PERSON SUFFERING DAMAGE: CONNOR CAPASSO
7 ALLING ROAD

WOODBRIDGE, CT 06525
INJURIES:

On or around November 6, 2017, Mr. Capasso was a patient at the Saint Raphael Campus
of Yale New Haven when, in response to his alleged erratic behavior, he was accosted by
approximately seven to nine police officers (some of whom work onsite at Yale New Haven and
some who were called to the scene). He was unnecessarily forced to the ground, causing his
head to be smashed on the floor and ultimately shot with pepper spray. At`ter he was forced to
the ground, one of the police officers cut off Mr. Capasso’s airway with his knee and shot him
with pepper spray again. Mr_. Capasso was being treated at Yale New Haven’s psychiatric ward
and despite what was perceived as a violent outburst (it was not), he was attacked by those who
are charged to protect 'l`he assault was conducted without warning or justification of any kind.

/\'l"l'URN|f‘\’S & C(.)UN.\`|Z|.URS /\'l` l./\\'V

E PETERSON|ZAMAT“°

 

Case 3'18-cV-00945-WWE Document 1 Filed 06/06/18 Page 13 of 15

As a result, Mr. Capasso sustained injuries to his head and eyes, along with emotional distress
PERSONS RESPONSIBLE FOR DAMAGES:
CITY OF NEW HAVEN

CITY OF NEW HAVEN POLICE DEPARTMENT
YALE NEW HAVEN HOSPITAL

' JOI-H\I DOE #1, MEMBER OF NEW HAVEN POLICE DEPARTMENT

JoHN DoE #2, MEMBER oP NEW HAVEN PoLicE DEPARTMENT

JoHN DoE #3, MEMBER oF NEW HAVEN PoLIcE DEPARTMENT

Jorn\r nos #4, MEMBER or NEW HAVEN PoLicE DEPARTMENT

JoHN DoE #5, MEMBER or NEW HAVEN PoLicE nEPARTMENr

JoHN DoE #6, MEMBER or NEW HAVEN PoLIcE DEPARTMENT

JoHN DoE #7, MEMBER or NEW HAVEN PoLIcE DEPARTMENT

JoHN DoE #8, MEMBER oF NEW HAVEN PoLIcE DEPARTMENT

JoHN DoE #9, MEMBER or NEW HAVEN PoLIcE DEPARTMENT

JoHN DoE #1, MEMBER or PRo'rECTIvE sERvIcEs YALE'NEW HAVEN HosPITAL
JoHN DoE #2, MEMBER or PRorEcTIvE sERvicEs YALE NEW HAVEN HosPirAL
JoHN DoE #3, MEMBER or PRo'rEcrn/E sERvicEs YALE NEW HAVEN HosPITAL
ALLEGED vIoLATIoNs{

Generally, violations of Mr. Capasso’s:constitutional rights relating to the unreasonable
and excessive use of force, pursuant to the provisions included in the Fourth, Fifch, Sixth, Eighth

Connecticut Constitution, including Article 1, Sections 7, 8 and 9. These violations will be
prosecuted via Connecticut General Statutes §§7-465 and 52-557n.

l\'l"l`UllNlEYS & (.'UUNSELURS l\`l' l.A\'\’

E P'ETERSO.N|ZAMAT“°

 

Case 3:18-cV-00945-WWE Document 1 Filed 06/06/18 Page 14 of 15

Michael A. zama \
PETERsoN ZAMAT, LLC

2000 Post Road, Suite 205 ’
Fairtield, CT 06824

Telephone: 203.292.9798
l\/Iichael@uetersonzarnat.com

Counsel to Connor Capasso

Case 3:18-cV-00945-WWE Document 1 Filed 06/06/18 Page 15 of 15

 

 

B_e§_§z

   

_§E_Eoo aa_m.=_m._w__m ____@>__B nassau 5>__»

_./ Q.Sm.go .wo.SE zw_n_ mgm >_=1_._._,__@».~ ,P_P._ wm W
E>__B _E¢_J, 1 m _,_ w m ___
__§_ B._?.. r _
n co _ow__oo _u
_§,__B 5 _$__6 m

    

_~mm.

 

 

 

    

 

 

 

§ §§m ._>assm n E>__B B.c§¢m __ms_ B_=E
_B.E_$Eas_ usa n e__w_>_ §§ o m wm §§ wmom oowm_ oc..c_ l am _
a__ms_ BaMum.m.nn_ a@>__._@n nassau sewage § < m
_ §§___ n - _____________m<_ ___ ___ _ ___________ ________ _ __________ _________ , _
_
_
_. %_W
_ s §
oz _U_ .._so_oow__ .w bw>__mp§co._. .`».§\A w ~
wo> _H__ 2. EB_ ES_ .,.ww__,.mlm.w£imv WRQ§_WWM“ .n_ .o~ um$£uu<~…w_t%<\`
....,. ..J >.W.. -_'.
Jsl. \_ ._z c_ .w~__E__ma woman __ _.=9.~. 05 co no

 

dw>__mn _o o_mn .0

 

§§ B§§. 3 vm>_m_u_mm .m

 

mmwmo._nv< H_

    

§§ __

o§_m_._m__m .<

also

  

eugene ms 3 53 05 8 eeo w___~_ 533 l ___

.:o> 8 _o___mo w£ EBQ_ cwa m.__s wm am
mw._m>M w£ co wwm_ovm mem oEmc So.> _~_w_rn_ l

 

 

 

          

          

__
a ge _N .F §§ wingo l __

.,. .. 11 1\.»»..
. i ll.lbl»| ..)l....¢..

h ,__ _§s_r_ §

W…

»: w__
e_;_

 

   

 

 

  

 

NO\N K)UHY. i.i\.wvy mm x F»\..\u new tam
o\ co §§ a_,§s___,…rm_w>_w§

    

w

 

 

 

    

 

_._m . Jm. common
» €>__3 usage wss=m_w._€<_n_
mch loqu w >v E.__.¥¢ 2§5¢,=€<5
c_§swom ila >__¢a visas 52 ¥_=Eo_u

 

 

 

 

:m.:w »

§§qu § as §c_§e_ BP._ w 30 ,_

         

_0_=2_$_~_ _%Sz E,smU
savage ...__o$m. E=_n\m.m_

 

 

 

 

